944 F.2d 896
    Antinoph (Janice), Budovitch (Florence), Chalphin (Pat),Edelson (Harold, Rita), Epstein (Miriam), Watson(Lynette, George, Linda), Edelson(Rita), Estate of Edelson (Harold)v.Laverell Reynolds Securities, Inc., Laverell (Judson D.),Reynolds (Roger A.), Siemon (Mark), Broadcort Capital Corp.
    NO. 91-1226
    United States Court of Appeals,Third Circuit.
    AUG 26, 1991
    
      Appeal From:  E.D.Pa.,
      Hutton, J.
    
    
      1
      AFFIRMED.
    
    